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                                         UNITED STATES DISTRICT COURT                          AT LEXINGTON
                                         EASTERN DISTRICT OF KENTUCKY                        ROBERT R, CARR
                                                                                         CLERK U.S. DISTRICT COURT
                                               CENTRAL DIVISION
                                                  LEXINGTON

            CRIMINAL ACTION NO. 5:19-CR-00206-KKC

            UNITED STATES OF AMERICA                                                      PLAINTIFF


            V.                                       PLEA AGREEMENT


            CLINTON PORTIS                                                             DEFENDANT

                                                           * * * * *
                     1. Pursuant to Federal Rule of Criminal Procedure 11 (c), the Defendant will enter
                                                    S°L,\f e-rs,e.di n5
            a guilty plea to Count One of th'xndictment, charging a violation of 18 U.S.C. § 1349,

            Conspiracy to Commit Health Care Fraud.

                     2. The essential elements of Count One are:

                           (a) Two or more persons conspired, or agreed, to conunit the crime of Health
                     Care Fraud; and

                             (b) The Defendant knowingly and voluntarily joined the conspiracy.

                    3. The Defendant agrees that the United States would prove the facts described in

            Attachment A, enclosed as the "Factual Basis" with this Plea Agreement, beyond a

            reasonable doubt at trial. The Defendant also agrees that these facts fairly and accurately

            describe the Defendant's actions and involvement in the offense for which he is charged,

            and to which he is pleading guilty, and establish the essential elements of this offense

            beyond a reasonable doubt. Further, the Defendant agrees that, effective as of the date the
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            Defendant signs this Plea Agreement, and notwithstanding any other subsequent event,

            including but not limited to the Defendant's failure to plead guilty, the court's refusal to

            accept the Defendant's guilty plea, or the Defendant's withdrawal (or attempted

            withdrawal) of his guilty plea, the "Factual Basis" set forth in this Plea Agreement shall be

            admissible against the Defendant in any criminal case involving the Fraud Section and/or

            the United States Attorney's Office for the Eastern District of Kentucky and the Defendant,

            as: (a) substantive evidence offered by the government in its case-in-chief and rebuttal case;

            (b) impeaclnnent evidence offered by the government on cross-examination; and

            (c) evidence at any sentencing hearing or other hearing. In addition, the Defendant also

            agrees not to assert any claim under the Federal Rules of Evidence (including Rule 410 of

            the Federal Rules of Evidence), the Federal Rules of Criminal Procedure (including Rule

             11 of the Federal Rules of Criminal Procedure), or the United States Sentencing Guidelines

            (including USSG § lBl.l(a)) that the "Factual Basis" set forth in this Plea Agreement

            should be suppressed or is otherwise inadmissible as evidence (in any form).

                     4. The statutory punislnnent for Count One is imprisonment for not more than

             10 years, a fine of not more than either $250,000 or twice the gross pecuniary gain or loss

            pursuant to 18 U.S.C. § 3571, and a term of supervised release of not more than three years.

            A mandatory special assessment of $100 applies, and the Defendant will pay this

            assessment to the U.S. District Coutt Clerk at the time of the entry of the plea.




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                     5. Pursuant to Rule ll(c)(l)(B), the United States and the Defendant recommend

            the following sentencing guidelines calculations. This recommendation does not bind the

            Court.

                           (a) United States Sentencing Guidelines (U.S.S.G.), November 1, 2018,
                     manual, will determine the Defendant's guidelines range.

                             (b) Pursuant to U.S.S.G. § lB 1.3, the Defendant's relevant conduct includes
                     the facts set forth in Attachment A, enclosed with this Agreement.

                             (c) Pursuant to U.S.S.G. § 2Bl.1, the base offense level is 6.

                            (d) Pursuant to U.S.S.G. § 2Bl.l(b)(l)(E), increase the offense level by
                     8 levels because the loss is greater than $95,000 but not greater than $150,000.

                            (e) Pursuant to U.S.S.G. § 3El.1 and unless the Defendant commits another
                     crime, obstructs justice, or violates a court order, decrease the offense level by
                     2 levels for the Defendant's acceptance of responsibility. If the offense level
                     determined prior to this 2-level decrease is level 16 or greater, the United States will
                     move at sentencing to decrease the offense level by 1 additional level based on the
                     Defendant's timely notice of intent to plead guilty.

                           (g) Pursuant to U.S.S.G. § 5El.1, restitution is $99,264, and the victim is the
                     Gene Upshaw NFL Players Health Reimbursement Account Plan.

                     6. No agreement exists about the Defendant's criminal history category pursuant to

            U.S.S.G. Chapter 4.

                     7. The United States will recommend a sentence within the U.S.S.G. range based

            on the calculations set forth above.

                     8. The Defendant will not file a motion for a decrease in the offense level based on

            a mitigating role pursuant to U.S.S.G. § 3B 1.2 or a departure motion pursuant to U.S.S.G.

            Chapter 5, Parts H or K.




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                     9.   The Defendant waives the right to appeal the guilty plea, conviction, and

            sentence. Except for claims of ineffective assistance of counsel, the Defendant also waives

            the right to attack collaterally the guilty plea, conviction, and sentence.

                     10. The United States will reco1mnend releasing the Defendant on the current

            conditions for future court appearances if the Defendant does not violate the terms of the

            order setting conditions of release.

                     11. The Defendant agrees to forfeit to the United States immediately and voluntarily

            any and all assets and property, or portions thereof, subject to forfeiture, pursuant to 18

            U.S.C. § 982(a)(7), whether in the possession or control of the United States, the Defendant

            or Defendant's nominees.

                             (a) The assets to be forfeited specifically include, but are not limited to, the

                     $99,264 in proceeds the Defendant admits he obtained, as the result of the

                     commission of the offense to which the Defendant is pleading guilty.                The

                    Defendant acknowledges and agrees that: (1) the Defendant obtained this amount

                     as a result of the commission of the offense, and (2) as a result of the acts and

                     omissions of the Defendant, the proceeds have been transferred to third parties and

                     cannot be located by the United States upon the exercise of due diligence.

                    Therefore, the Defendant agrees that, pursuant to 21 U.S.C. § 853(p), the United

                     States is entitled to forfeit any other property of the Defendant (substitute assets),

                    up to the amount of proceeds the Defendant obtained, as the result of the offense of

                    conviction.


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                              (b) The Defendant further consents to, and agrees not to oppose, any motion

                     for substitute assets filed by the United States up to the amount of proceeds obtained

                     from cmmnission of the offense. The Defendant agrees that forfeiture of substitute

                     assets as authorized herein shall not be deemed an alteration of the Defendant's

                     sentence.

                              (c) The Defendant admits and agrees that the conduct described in the

                     Factual Basis provides a sufficient factual and statutory basis for the forfeiture of

                     the property sought by the govermnent. Pursuant to Rule 32.2(b)(4), the Defendant

                     agrees that the preliminary order of forfeiture will satisfy the notice requirement and

                     will be final as to the Defendant at the time it is entered. In the event the forfeiture

                     is omitted from the judgment, the Defendant agrees that the forfeiture order may be

                     incorporated into the written judgment at any time pursuant to Rule 36.

                              (d) Forfeiture of the Defendant's assets shall not be treated as satisfaction of

                     any fine, restitution, cost of imprisonment, or any other penalty the Court may

                     impose upon the Defendant in addition to forfeiture.

                             (e) The Defendant agrees that, in the event the Court dete1mines that the

                     Defendant has breached this section of the Plea Agreement, the Defendant may be

                     found ineligible for a reduction in the Guidelines calculation for acceptance of

                     responsibility and substantial assistance, and may be eligible for an obstruction of

                     justice enhancement.




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                     12. The Defendant agrees to cooperate fully with the United States Attorney's

            Office by making a full and complete financial disclosure. Within 30 days of pleading

            guilty, the Defendant agrees to complete and sign a financial disclosure statement or

            affidavit disclosing all assets in which the Defendant has any interest or over which the

            Defendant exercises control, directly or indirectly, including those held by a spouse,

            nominee, or other third party, and disclosing any transfer of assets that has taken place

            within three years preceding the entry of this plea agreement. The Defendant will not

            encumber, transfer, or dispose of any monies, property, or assets valued at over $2,500

            under the Defendant's custody or control without written approval from the United States

            Attorney's Office. If the Defendant is ever incarcerated in connection with this case, the

            Defendant will participate in the Bureau of Prisons Inmate Financial Responsibility

            Program, regardless of whether the Court specifically directs participation or imposes a

            schedule of payments. If the Defendant fails to comply with any of the provisions of this

            paragraph, the United States, in its discretion, may refrain from moving the Court pursuant

            to U.S.S.G. § 3El.l(b) to reduce the offense level by one additional level, and may argue

            that the Defendant should not receive a two-level reduction for acceptance ofresponsibility

            under U.S.S.G. § 3El.l(a).

                     13. The Defendant understands and agrees that, pursuant to 18 U.S.C. § 3613,

            whatever monetary penalties are imposed by the Court will be due and payable

            immediately and subject to immediate enforcement by the United States. If the Court

            imposes a schedule of payments, the Defendant agrees that it is merely a minimum


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            schedule of payments and not the only method, nor a limitation on the methods, available

            to the United States to enforce the judgment. The Defendant waives any requirement for

            demand of payment on any fine, restitution, or assessment imposed by the Court and agrees

            that any unpaid obligations will be submitted to the United States Treasury for offset. The

            Defendant authorizes the United States to obtain the Defendant's credit reports at any time.

            The Defendant authorizes the U.S. District Court to release funds posted as security for the

            Defendant's appearance bond in this case, if any, to be applied to satisfy the Defendant's

            financial obligations contained in the judgment of the Court.

                    14. If the Defendant violates any part of this Agreement, the United States may

            void this Agreement and seek an indictment for any violations of federal laws, and the

            Defendant waives any right to challenge the initiation of additional federal charges.

                    15. This document, Attachment A enclosed with this document, and the supplement

            contain the complete and only Plea Agreement between the United States and the

            Defendant. It supersedes all other plea agreements and may not be modified unless the

            modification is in writing and signed by all paiiies. References in this document to

            "Agreement" or "Plea Agreement" refer to both this document, Attachment A, and the

            supplement. The United States has not made any other promises or representations to, or

            understandings or agreements with, the Defendant.

                    16. This Agreement does not bind the United States Attorney's Offices in other

            districts, or any other federal, state, or local prosecuting authorities.




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                     17.    Upon execution of this Agreement and the Comt's acceptance of the

            Defendant's plea of guilty, the United States will move to dismiss the remaining counts of

            the Indictment against this Defendant.

                     18. The Defendant has thoroughly reviewed all legal and factual aspects of this case

            with the Defendant's attmney and is fully satisfied with the legal representation provided

            by the Defendant's attorney. The Defendant has received satisfactory explanations from

            the Defendant's attorney concerning each paragraph of this Plea Agreement, each of the

            Defendant's rights affected thereby, and the alternatives to entering a guilty plea. After

            conferring with counsel, the Defendant concedes guilt and has concluded that it is in the

            Defendant's best interest to enter this Agreement rather than proceeding to trial. The

            Defendant and the Defendant's attorney acknowledge that the Defendant understands this

            Agreement, that the Defendant's attorney has fully explained this Agreement to the

            Defendant, and that the Defendant's entry into this Agreement is voluntary and is not the

            result of force, threats, or promises other than those set forth in this Agreement.


                                                              CARLTON S. SHIER, IV
                                                              ACTING ,J..-t-cwSTATESATTORNEY

            Date:                                     By:



                                                              JOSEPH S. BEEMSTERBOER
                                                              Acting Chief
                                                              Fraud Section, Criminal Division

                                                              ALLAN MEDINA
                                                              Chief, Health Care Fraud Unit

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                                                                    HNSCANLON
                                                                 ALEXANDER KRAMER
                                                                 Trial Attorneys
                                                                 United States Department of Justice
                                                                 Criminal Division, Fraud Section
                                                                 1400 New York Avenue, N.W.
                                                                 Washin2:ton, D.C. 20005
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                     September 3, 2021
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                                                                CLINTON PORTIS
                                                                Defendant



            Date:    September 3, 2021
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                                                              In   DocuSlgned by:




                                                                ADAM C. REEVES
                                                                Attorney for Defendant




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